Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.321 Page 1 of 48



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                         UNITED STATES DISTRICT COURT
 11
                        SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
                                             Case No. 18-cv-0331-BEN-JMA
 14 STONE BREWING CO., LLC,
 15                                           PLAINTIFF STONE BREWING
           Plaintiff,                         CO., LLC’S MEMORANDUM OF
 16                                           POINTS AND AUTHORITIES IN
                  v.                          SUPPORT OF MOTION FOR
 17 MILLERCOORS LLC, and DOES 1               PRELIMINARY INJUNCTION

 18 through 25, inclusive,                    Date: August 13, 2018
                                              Time: 10:30 a.m.
 19       Defendants.                         Judge: Hon. Roger T. Benitez

 20                                          Complaint filed: February 12, 2018

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                                                    Case No. 18-cv-0331-BEN-JMA
         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                        MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.322 Page 2 of 48



  1                                              TABLE OF CONTENTS
  2 INTRODUCTION .....................................................................................................1
  3 STATEMENT OF FACTS ........................................................................................3
  4                     Plaintiff’s STONE® Mark and Goodwill ............................................. 3
  5                     STONE®’s Reputation, Goodwill and Delivery of Great Beer ........... 4
  6                     1.       Critical Acclaim for STONE® Beer and Business .................... 4
  7                     2.       STONE®’s Massive Social Media Presence.............................. 5
  8                     3.       STONE®’s Sales at Retailers, Bars and Restaurants Across
                                 the United States and Globally ................................................... 5
  9
                        Defendant’s Struggle to Promote Keystone’s Fizzy Yellow Beer ....... 6
 10
                        1.       Keystone’s Brand ........................................................................6
 11
                        2.       Keystone’s Waning Sales ...........................................................6
 12
                        3.       Keystone’s Failed PTO Application for “STONES” ................. 7
 13
                        Sales and Industry Overlap ...................................................................8
 14
                        Defendant’s Rebrand of Keystone as “STONE” .................................. 8
 15
                        Defendant’s Plan to Escalate Infringement......................................... 10
 16
                        1.       Sales Uptick After Keystone’s Infringement............................ 10
 17
                        2.       Strategic Marketing of Infringing “STONE” Rebrand ............. 11
 18
                        Consumers Are Confused by Defendant’s Infringing “STONE”
 19                     Beer .....................................................................................................11
 20                     Scientific Survey of Consumers Shows Overwhelming Confusion ... 12
 21                     Defendant’s Infringement Is Accelerating .......................................... 13
 22                     Stone is Suffering Long Term Irreparable Harm ................................ 14
 23 ARGUMENT ...........................................................................................................15
 24 I.         THE TRUE STONE® HAS A STRONG LIKELIHOOD OF SUCCESS
               ON ITS TRADEMARK INFRINGEMENT CLAIM ................................... 15
 25
                        Stone’s Incontestable STONE® Mark ................................................ 16
 26
                        Defendant’s Attempt to Misappropriate “STONE” Creates
 27                     Obvious Likelihood of Confusion ......................................................17
 28                     1.       Strength of Mark: The STONE® Mark is Rock Solid ............. 17
                                            i           Case No. 18-cv-0331-BEN-JMA
             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                            MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.323 Page 3 of 48



                        2.       Relatedness of Goods: Beer and Beer ...................................... 19
  1
                        3.       Similarity of Marks: STONE® Beer versus “STONE” Beer ... 21
  2
                        4.       Marketing Channels: Plaintiff and Defendant Utilize
  3                              Nearly Identical Marketing Channels ....................................... 22
  4                     5.       Defendant’s “STONE” Rebrand Creates Actual Confusion .... 22
  5                     6.       Defendant’s Rebrand to Infringe on STONE® is Willful
                                 and Intentional ..........................................................................26
  6
                        7.       Defendant’s Expansion of Product Line Infringes Upon
  7                              Plaintiff’s Protected Mark.........................................................28
  8 II.        STONE WILL SUFFER IRREPARABLE HARM IF DEFENDANT IS
               NOT ENJOINED FROM CONTINUED INFRINGMENT ......................... 28
  9
      III.     BALANCE OF THE EQUITIES TIPS DECIDEDLY IN FAVOR OF
 10            PROTECTING STONE’S ONE-OF-A-KIND BRAND .............................. 33
 11 IV.        INJUNCTIVE RELIEF IS IN THE PUBLIC’S INTEREST ........................ 33
 12 V.         NO BOND IS REQUIRED IN THIS CASE ................................................. 34
 13 CONCLUSION ........................................................................................................35
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                            ii          Case No. 18-cv-0331-BEN-JMA
             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                            MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.324 Page 4 of 48



  1                                        TABLE OF AUTHORITIES
  2 CASES
  3
    2Die4Kourt v. Hillair Capital Management, LLC,
  4   2016 WL 4487895 (C.D. Cal. Aug. 23, 2016) ................................................. 28, 33
  5 2Die4Kourt v. Hillair Capital Mgmt., LLC,
  6   692 F. App'x 366 (9th Cir. 2017)............................................................................ 34
  7 Adidas Am., Inc. v. Skechers USA, Inc.,
  8   No. 16-35204, 2018 WL 2142648 (9th Cir. May 10, 2018) ...................... 25, 31, 32

  9 AMF, Inc. v. Sleekcraft Boats,
      599 F.2d 341 (9th Cir. 1979) ........................................................................... passim
 10
 11 Anheuser-Busch, Inc. v. Customer Co.,
      947 F. Supp. 422 (N.D. Cal. 1996) ................................................................... 19, 22
 12
    Applied Information Sciences Corp. v. eBay,
 13   511 F.3d 966 (9th Cir. 2007) .................................................................................. 16
 14
    Au-Tomotive Gold, Inc. v. Volkswagen of America, Inc.,
 15   457 F.3d 1062 (9th Cir. 2006) ................................................................................ 24
 16
    Aurora World, Inc. v. Ty Inc.,
 17   719 F. Supp. 2d 1115 (C.D. Cal. 2009) .................................................................. 34
 18 Beer Nuts, Inc. v. Clover Foods Co.,
 19   805 F.2d 920 (10th Cir. 1986) ................................................................................ 24

 20 Brookfield Commc’ns, Inc. v. W. Coast Entm’t Corp.,
      174 F.3d 1036 (9th Cir. 1999) .................................................................... 17, 21, 22
 21
 22 Brooklyn Brewery Corp. v. Black Ops Brewing, Inc.,
      156 F. Supp. 3d 1173 (E.D. Cal. 2016) .................................................................. 21
 23
    Clamp Mfg. Co., Inc. v. Enco Mfg. Co., Inc.,
 24
      870 F. 2d 512 (9th Cir. 1989) ........................................................................... 17, 18
 25
    Clicks Billiards Inc. v. Sixshooters. Inc.,
 26   251 F.3d 1252 (9th Cir. 2001) ................................................................................ 23
 27
    CSC Brands LP v. Herdez Corp.,
 28   191 F. Supp. 2d 1145 (E.D. Cal. 2001) .................................................................. 16
                                           iii         Case No. 18-cv-0331-BEN-JMA
            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                           MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.325 Page 5 of 48



  1 CytoSport, Inc. v. Vital Pharm., Inc.,
       617 F. Supp. 2d 1051 (E.D. Cal. 2009) ................................................ 24, 25, 26, 33
  2
    Dr. Seuss Enter., L.P. v. Penguin Books, U.S.A.,
  3    109 F.3d 1394 (9th Cir. 1997) ................................................................................ 33
  4
    E. & J. Gallo Winery v. Grenade Beverage LLC,
  5    2014 WL 5489076 (E.D. Cal. Sept. 8, 2014) ......................................................... 30
  6 E & J Gallo Winery v. Gallo Cattle Co.,
  7   967 F.2d 1280 (9th Cir. 1992) ................................................................................ 19
  8 Fiji Water Co., LLC v. Fiji Mineral Water USA, LLC,
  9   741 F.Supp.2d 1165 (S.D. Cal. 2010) .............................................................. 19, 25

 10 Fleischmann Distilling Corp. v. Maier Brewing Co.,
      314 F.2d 149 (9th Cir. 1963) ............................................................................ 19, 20
 11
 12 GoTo.com, Inc. v. Walt Disney Co.,
      202 F.3d 1199 (9th Cir. 2000) ................................................................................ 21
 13
    Guinness United Distillers & Vintners B.V. v. Anheuser–Busch, Inc.,
 14
      2002 WL 1543817 (S.D.N.Y. July 12, 2002) ......................................................... 19
 15
    Hansen Beverage Co. v. Cytosport, Inc.,
 16   No. CV 09-0031-VBF(AGRX), 2009 WL 5104260 (C.D. Cal. Nov. 4, 2009) ..... 16
 17
    Herb Reed Enters., LLC v. Florida Entm’t Mgmt, Inc.,
 18   736 F. 3d 1239 (9th Cir. 2013) ............................................................................... 28
 19 HM Elecs., Inc. v. R.F. Techs., Inc.,
 20  No. 12-CV-2884-MMA (WMC), 2013 WL 12074966 (S.D. Cal. Oct. 3, 2013) .. 23

 21 Hokto Kinoko Co. v. Concord Farms, Inc.,
       738 F.3d 1085 (9th Cir. 2013) ................................................................................ 26
 22
 23 Interstellar Starship Servs. v. Epix, Inc.,
       184 F.3d 1107 (9th Cir. 1999) ................................................................................ 16
 24
    KP Permanent Make-Up, Inc. v. Lasting Impression, Inc.,
 25
       543 U.S. 111 (2004)................................................................................................ 15
 26
    Maxim Integrated Prod., Inc. v. Quintana,
 27    654 F. Supp. 2d 1024 (N.D. Cal. 2009) .................................................................. 24
 28
                                            iv          Case No. 18-cv-0331-BEN-JMA
             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                            MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.326 Page 6 of 48



  1 Ocean Garden, Inc. v. Marktrade Co.,
      953 F.2d 500 (9th Cir. 1991) .................................................................................. 33
  2
    Official Airline Guides, Inc. v. Goss,
  3   6 F.3d 1385 (9th Cir. 1993) .................................................................................... 26
  4
    Pacific Rollforming, LLC v. Trakloc Intern., LLC,
  5   2007 WL 4181258 (S.D. Cal. 2007) ....................................................................... 35
  6 Plasticolor Molded Prod v. Ford Motor Co.,
  7   698 F. Supp. 199 (C.D. Cal. 1988) ................................................................... 27, 28
  8 Playboy Enterprises, Inc. v. Netscape Commc'ns Corp.,
  9   354 F.3d 1020 (9th Cir. 2004) ................................................................................ 24

 10 Pom Wonderful LLC v. Hubbard,
      775 F.3d 1118 (9th Cir. 2014) .......................................................................... 15, 20
 11
 12 SquirtCo. v. Seven-Up Co.,
      628 F.2d 1086 (8th Cir. 1980) ................................................................................ 26
 13
    Starbucks Corp. v. Heller,
 14
      2014 WL 6685662 (C.D. Cal. Nov. 26, 2014) ....................................................... 30
 15
    Stone Creek, Inc. v. Omnia Italian Design, Inc.,
 16   875 F.3d 426 (9th Cir. 2017) ...................................................................... 21, 22, 26
 17
    Stuhlbarg Int'l Sales Co. v. John D. Brush & Co.,
 18   240 F.3d 832 (9th Cir. 2001) .................................................................................. 29
 19 Thane Int'l, Inc. v. Trek Bicycle Corp.,
 20   305 F.3d 894 (9th Cir. 2002) ...................................................................... 24, 25, 26

 21 Triad Systems Corp. v. Southeastern Exp. Co.,
      64 F.3d 1330 (9th Cir. 1995) .................................................................................. 33
 22
 23 Two Pesos, Inc. v. Taco Cabana, Inc.,
      505 U.S. 763 (1992).......................................................................................... 17, 18
 24
    Van de Kamp v. Tahoe Reg’l Planning Agency,
 25
      766 F.2d 1319 (9th Cir. 1985) ................................................................................ 34
 26
    Warner Bros. Entm't v. Glob. Asylum, Inc.,
 27   No. CV 12-9547 PSG CWX, 2012 WL 6951315 (C.D. Cal. Dec. 10, 2012) ........ 16
 28
                                           v           Case No. 18-cv-0331-BEN-JMA
            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                           MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.327 Page 7 of 48



  1 YKK Corp. v. Jungwoo Zipper Co., Ltd.,
      213 F. Supp. 2d 1195 (C.D. Cal. 2002) .................................................................. 22
  2
    STATUTES
  3
  4 15 U.S.C. § 1116(a) ................................................................................................ 1, 15
  5 15 U.S.C.A. § 1115(b) .......................................................................................... 16, 17
  6 RULES
  7 Fed. Rule of Evid. 408 .................................................................................................. 8
  8
    Fed. Rule of Civ. Proc. 65(b) .................................................................................. 1, 15
  9
    OTHER AUTHORITIES
 10
 11 4 McCarthy on Trademarks and Unfair Competition § 23:18 ................................... 24
 12 4 McCarthy on Trademarks and Unfair Competition § 30:2, 30-10 .......................... 29
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                            vi          Case No. 18-cv-0331-BEN-JMA
             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                            MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.328 Page 8 of 48



  1         Plaintiff Stone Brewing Co., LLC (“Stone” or “Plaintiff”) hereby moves for a
  2 preliminary injunction pursuant to 15 U.S.C. § 1116(a) and Fed. Rule of Civ. Proc.
  3 65(b) against Defendant MillerCoors LLC (“Defendant”) to enjoin its ongoing
  4 infringement of Stone’s incontestable STONE® federal trademark.
  5                                    INTRODUCTION
  6         Plaintiff Stone seeks a preliminary injunction barring Defendant MillerCoors
  7 from continuing to use Stone’s incontestable and highly distinctive STONE® mark
  8 on its Keystone Light beer cans and related marketing material. Keystone’s adoption
  9 of Stone’s name is causing actual and irreparable consumer confusion, with a
 10 scientific study finding that more than 43% of beer consumers are confused by the
 11 new label, with over 25% net confusion.
 12         Stone is an Escondido, California craft brewery twice recognized by Beer
 13 Advocate as the “All Time Top Brewery on Planet Earth.” Its award-winning
 14 distinctive hoppy and “bitter” beer has been sold for over twenty years under the
 15 incontestable STONE® federal trademark. In April 2017, Defendant MillerCoors,
 16 one of the world’s largest beer manufacturers, decided to refresh its flagging
 17 “Keystone” brand by separating the “KEY” from “STONE” on the front of its beer
 18 cans, effectively adopting Stone’s mark as its own:
 19            Traditional Keystone Can                   Rebranded Keystone Can
 20                    (Pre-2017)                               (Post-2017)

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 26
            Defendant knew that adopting Stone’s house mark would cause widespread
 27
      confusion. In fact, much like counterfeiters hoping to knock off a quality brand, that
 28
                                         1           Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.329 Page 9 of 48



  1 was the whole point. Defendant also knew for certain that taking Stone’s name
  2 would violate U.S. trademark law. Almost a decade ago, the U.S. Patent and
  3 Trademark Office (“PTO”) expressly rejected Defendant’s application to register the
  4 term “STONES” because doing so was “extremely likely” to cause “[c]onfusion as to
  5 source of origin or sponsorship” with Plaintiff’s registered STONE® mark. In re.
  6 Trademark Application No. 77284994 – STONES, PTO Dkt. No. 4060KE-1027
  7 (Dec. 3, 2007) (Request for Judicial Notice (“RJN”), Ex. 7). Defendant conceded
  8 defeat and promptly abandoned the application, and then abandoned a similar
  9 application a few years later.
 10        Defendant’s rebranding is wreaking havoc in the market and already has
 11 allowed Keystone’s sales to skyrocket as consumers associate it with STONE®. A
 12 preliminary injunction is necessary to halt this onslaught and protect one of
 13 California’s most prized craft beer brands from permanent injury. All relevant
 14 factors support such preliminary relief:
 15        •      STONE® is a federally-registered, incontestable trademark used on all
 16 of Stone’s beer with recognized secondary meaning and over twenty years of
 17 continuous use at tens of thousands of retailers, pubs, bars, restaurants and liquor
 18 stores across the country.
 19        •      Defendant’s willful use of the exact same mark on the front of its
 20 Keystone beer and in related marketing is causing actual consumer confusion, and a
 21 scientific, controlled study of beer drinkers establishes a staggering degree of market
 22 confusion attributable to Defendant’s infringement.
 23        •      The balance of hardships and public interest decidedly weigh in Stone’s
 24 favor to prevent Defendant’s deliberate counterfeiting of the STONE® mark and to
 25 stop further irreparable injury and lost goodwill caused by Stone’s involuntary
 26 association with one of the world’s most disfavored light beers, i.e., Keystone Light.
 27        Stone has attempted in vein to address these issues with Defendant without
 28 success. It now respectfully seeks entry of the appended [Proposed] Order to compel
                                        2           Case No. 18-cv-0331-BEN-JMA
         PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                        MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.330 Page 10 of 48



   1 Defendant to cease using “STONE” apart from “KEY” on its beer cans and
   2 marketing materials.
   3                               STATEMENT OF FACTS
   4        The following facts are set forth in the appended Declaration of Plaintiff’s
   5 President and Co-Founder, Steve Wagner (the “STONE Decl.”), the Expert Report
   6 and Declaration of Professor Dave Stewart, Ph.D. (the “Stewart Decl.”), Stone’s
   7 Request for Judicial Notice (the “RJN”), and Defendant’s own admissions in its
   8 Answer and Counterclaims (Dkt. 19, the “Answer”).
   9               Plaintiff’s STONE® Mark and Goodwill
  10        Since brewing its first STONE® beer in 1996, Stone’s house mark has become
  11 one of the most recognizable and beloved craft beer brands in the U.S. (STONE
  12 Decl. at ¶¶ 2, 12-14.) In addition to dozens of awards and accolades, Stone is the
  13 only brewery to have been awarded the title of “All-Time Top Brewery on Planet
  14 Earth” by BeerAdvocate magazine – not once, but twice. (Id. at ¶ 29.) The STONE®
  15 brand and its beer are a national and international icon that embody the spirit of its
  16 Gargoyle mascot, known for a vigilant commitment to quality, sustainability and the
  17 art of brewing. (Id. at ¶ 32.) And for protecting the company against corporate
  18 invaders like MillerCoors. (Id. at ¶ 4.)
  19        The name STONE® is an original creation, much like Stone’s pathbreaking
  20 beers. (STONE Decl. at ¶ 3.) In the early 1990s, Stone’s founders Steve Wagner and
  21 Greg Koch tried out countless monikers looking for one name that would embody the
  22 ethos of their beer brainchild—brewing bold, interesting, and truly independent craft
  23 beers. (Id.) The founders struck upon STONE® because it conveyed a solid and
  24 simple brand message, embodying the founders’ desire to focus on the fundamentals
  25 of brewing great beer. (Id.) Further, it represented a blank slate, having no pre-
  26 existing association with the category. (Id.)
  27        The founders promptly applied for the STONE mark, which was published for
  28 opposition on July 29, 1997. (RJN at Ex. 3.) Following examiner review, the PTO
                                          3           Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.331 Page 11 of 48



   1 registered the mark without objection on June 23, 1998 under U.S. Registration No.
   2 2,168,093. (RJN at Ex. 1.)
   3        Ten years later, in 2008, the PTO recognized Stone’s continuous use of the
   4 brand when it accepted Stone’s Combined Declaration of Use and Incontestability.
   5 (RJN at Ex. 4.) On that date, the STONE® mark became “incontestable” as a matter
   6 of law, further insulating Stone from copycats and placing companies like Defendant
   7 on notice of Stone’s rights. Since then, Stone has registered numerous other
   8 STONE-formative marks to help protect the expansion of its brand.
   9               STONE®’s Reputation, Goodwill and Delivery of Great Beer
  10        Stone’s reputation for independence and pugnaciously hoppy beer are as
  11 distinctive as its STONE® mark. (STONE Decl. at ¶ 32.) The brewery has achieved
  12 acclaim and recognition in virtually every category possible, from beer aficionados
  13 to critics to ordinary consumers.
  14               1.    Critical Acclaim for STONE® Beer and Business
  15        Stone is the eighth-largest independent craft brewer in the United States.
  16 (STONE Decl. at ¶ 12.) STONE® beer repeatedly is awarded grand prizes in local,
  17 national and international competitions. (Id. at ¶ 28.) In 2009, the brewery was
  18 awarded the lofty distinction of “All Time Top Brewery on Planet Earth” by Beer
  19 Advocate magazine, besting domestic and international competition, including
  20 Trappist brewers in Belgium. (Id. at ¶ 29.) Then, in a first for Beer Advocate, Stone
  21 was awarded the honor for a second time, in 2010. (Id.) (Stone currently is
  22 recognized as the publication’s “No. 1 All-Time Top Brewer.”)
  23        Stone’s business and approach to marketing STONE® beer have kept pace and
  24 helped support its reputation. For the past twelve years, Stone has been named as
  25 one of San Diego Business Journal’s “Top 100 Fastest Growing Private Companies,”
  26 a distinction it also enjoys on Inc. magazine’s list of the 5000 Fastest-Growing
  27 Private Companies. (STONE Decl. at ¶¶ 19-20.) The brewery’s unique brand and
  28 approach to the trade is widely recognized among industry observers, including by
                                         4           Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.332 Page 12 of 48



   1 publications such as The New York Times, The Wall Street Journal, The Economist,
   2 USA Today, and Time magazine, among others. (Id. at ¶ 30.)
   3                2.    STONE®’s Massive Social Media Presence
   4         In addition to its well-earned reputation, Stone maintains a loyal grassroots
   5 STONE® fan base that is unrivaled by most other breweries in the United States.
   6 Stone engages with beer drinkers across several social media platforms—Facebook,
   7 Twitter and Instagram, to name a few. (STONE Decl. at ¶ 37.) Despite their
   8 disparity in size, Stone engages far more consumers than Defendant MillerCoors.
   9 Stone’s official Twitter account (https://twitter.com/stonebrewing) has 273,000
  10 followers, while Defendant’s profile (https://twitter.com/MillerCoors) only has
  11 25,000. (Id.) Defendant’s Keystone brand does not even appear to have a Twitter
  12 presence, though parody accounts with a handful of followers abound (see, e.g.,
  13 https://twitter.com/relive_keystone). (Id. at ¶ 6.)
  14                3.    STONE®’s Sales at Retailers, Bars and Restaurants Across
                          the United States and Globally
  15
             STONE® beers are sold in thousands of retailers, bars, restaurants and liquor
  16
       stores throughout the country. (STONE Decl. at ¶ 13.) Fans purchase STONE® beer
  17
       in boutique grocers, major supermarkets, liquor stores, restaurants, pubs, bars, and
  18
       online in every state in the country. (Id.) In thousands of locations, STONE® is sold
  19
       in the same retailers and on the same aisle as Defendant’s Keystone beer, including
  20
       at national chains like Kroger, Safeway, BevMo, Whole Foods, Food Lion, Rite Aid,
  21
       Publix, Wegmans, Lowes and Raleys and more. (Id.)
  22
             STONE® also has gained notoriety as the first American craft brewer with the
  23
       temerity to independently build, own and operate a brewery in the thousand-year-old
  24
       heartland of beer, Berlin, Germany. (STONE Decl. at ¶ 15.) Fans from around the
  25
       country and world visit the brewery’s headquarters in Escondido, where they can
  26
       enjoy dozens of unique varieties of STONE® beer. (Id. at ¶ 18.)
  27
  28
                                          5           Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.333 Page 13 of 48



                      Defendant’s Struggle to Promote Keystone’s Fizzy Yellow Beer
   1
                Defendant’s Keystone brand is the evil twin of all things STONE® stands for
   2
       and holds dear: distinctive taste, small batch craft preparation, environmental
   3
       sustainability, iconoclastic irreverence and critical acclaim. (STONE Decl. at ¶ 83.)
   4
                      1.    Keystone’s Brand
   5
                According to Defendant, Keystone was launched in 1989 under its
   6
       “KEYSTONE” mark, which remains the brand’s primary trademark. Observers
   7
       theorize that the brand was started as a means to offload lesser-quality Coors Light.
   8
       (STONE Decl. at ¶ 6.) Critics are of a similar view. Keystone historically has been
   9
       sold as a bargain-basement, watered-down, low-alcohol light beer that has been
  10
       described as “augmenting the typical stale/sour flavor profile [of light beer] with
  11
       notes of brown bananas and green armpits.” (Id.) It maintains a rating of just 1.81 on
  12
       Beer Advocate, which translates to “Awful” on the site’s quality scale. (Id.)
  13
                For almost thirty years, until its rebranding in April 2017, Defendant branded
  14
       and sold Keystone beer using the KEYSTONE® mark on the front of its cans and
  15
       packages as a single word, “KEYSTONE,” in uniform typeface, font and color.
  16
       ((STONE Decl. at ¶ 48) (images illustrating the rebrand are appended for
  17
       convenience as Demonstrative A).)
  18
                      2.    Keystone’s Waning Sales
  19
                As craft beer grew in popularity into the 2000s, MillerCoors saw its
  20
       KEYSTONE brand (and others) lose market share. (STONE Decl. at ¶ 49.)
  21
       Defendant tried various short-lived advertising campaigns to bolster the brand, all of
  22
       which honed to Keystone’s traditional logo and can, i.e., featuring the
  23
       “KEYSTONE” mark as a single word accompanied by the Colorado Rockies. (Id. at
  24
       ¶ 48.)
  25
                At times, Defendant’s packaging or print advertising included reference to
  26
       beers within a case of KEYSTONE as “30 ‘Stones.” Answer/CC at 12:27-28:17.
  27
  28
                                          6           Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.334 Page 14 of 48



   1 Defendant’s packaging, however, always prominently featured the full KEYSTONE
   2 brand name as a single word, usually as a picture of the can itself.
   3               3.    Keystone’s Failed PTO Application for “STONES”
   4        In 2007, Keystone attempted to register “STONES” as a standalone mark.
   5 (RJN at Ex. 5.) The PTO swiftly scuttled the effort, recognizing the strength and
   6 priority of the STONE® mark.
   7        In a lengthy opinion published in December 2007, the PTO rejected the
   8 application due to the obvious likelihood of confusion with the incontestable
   9 STONE® mark. In re. Trademark Application No. 77284994 – STONES, PTO Dkt.
  10 No. 4060KE-1027 (Dec. 3, 2007) (RJN at Ex. 7). The PTO carefully examined each
  11 of the factors relevant to likelihood of confusion and correctly found that consumers
  12 would be confused as to the source of the goods:
  13               Since the respective marks are essentially identical, the
                   only issue before the examining attorney is whether the ap-
  14               plicant’s goods are so related to the registrant’s goods that
                   confusion as to source of origin or sponsorship is likely to
  15               occur. The examining attorney must conclude that they are
                   so related, for it is foreseeable that customers of the appli-
  16               cant might encounter the registrant’s respective goods and
                   mark in the marketplace given similar channels of trade
  17               within which the identified goods travel. Specifically, it is
                   likely that the applicant’s beer and the registrant’s beers
  18               and ales will be marketed, advertised and ultimately sold or
                   offered in the same or similar fashions.
  19
                   Confusion as to source of origin or sponsorship is ex-
  20               tremely likely if [MillerCoors’] proposed mark is allowed
                   to register. Registration is therefore refused by the examin-
  21               ing attorney.
  22 (Id.) Defendant did not dispute, contest or otherwise appeal the PTO’s determination.
  23 (Id. at Ex. 6.) Rather, it abandoned the application. (Id.)
  24        In 2010, Defendant again attempted to tread onto Stone’s name, this time in
  25 connection with a catch-phrase, “HOLD MY STONES.” (RJN at Ex. 8.) Stone
  26 notified the USPTO that it would oppose the registration. (Id. at Ex. 9.) On
  27
  28
                                         7           Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.335 Page 15 of 48



   1 November 9, 2010, Defendant acknowledged that further registration efforts would
   2 be futile and permanently abandoned the application as of November 23, 2010. (Id.) 1
   3               Sales and Industry Overlap
   4        Keystone and STONE® are sold in virtually all of the same channels and
   5 enjoy significant industry and commercial overlap as national brands. The parties’
   6 beers are sold in the same aisle at thousands of retailers, bars, restaurants and liquor
   7 stores across the country. STONE® and Keystone also share the same beer
   8 distributors, and over fifty of Defendant’s regional brand “houses” have distributed
   9 STONE® beer alongside Keystone. (Id. at ¶ 41.)
  10        Stone and Keystone beers also appear at the same beer festivals and
  11 conventions, such as the Great American Beer Festival in Denver, Colorado. (Id. at ¶
  12 42.) Last year STONE® was awarded gold for its STONE® “Witty Moron” brew in
  13 the Belgian-Style Ale category. (Id. at ¶ 31.) Defendant did not take home any
  14 awards, either for its namesake brands or its two craft beers that also attended. (Id.)
  15         Unsurprisingly, Defendant’s corps of beer industry staff writers are fans of the
  16 STONE® brand, acknowledging that Stone is a “nationally distributed brewer[],”
  17 and one of “the biggest and most well-established craft brewers.” (Id. at ¶ 43.) Its
  18 representatives consistently acknowledge that in the world of beer, there is only one
  19 company that goes by the STONE® name, identifying Plaintiff simply as “Stone” in
  20 its articles. (Id. (“Stone plans this month to release a New England-inspired double
  21 IPA called Nor’East Nod in large-format bottles as part of its 21st anniversary
  22 series.”).)
  23               Defendant’s Rebrand of Keystone as “STONE”
  24        After years of declining or stagnant sales, in 2017, Defendant’s executives
  25
       1
       Stone is aware that Defendant has attempted to place before the Court the parties’
  26 privileged settlement communications related to Defendant’s abandoned application
     for the tagline. Answer/CC at 15:12-17:18. The communications demonstrate com-
  27 mercial settlement discussions protected by Fed. R. of Evid. 408. Moreover, during
     the entire period, Stone maintained its opposition to the tagline, which Defendant
  28 abandoned.
                                          8           Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.336 Page 16 of 48



   1 decided to fundamentally change the design of Keystone’s beer can, logo and related
   2 branding. Defendant’s representatives explained that consumer research showed that
   3 beer drinkers “thought Keystone Light was a dying brand.” (STONE Decl. ¶ 49.)
   4 Rebranding Keystone would rejuvenate sales by “capturing the interest of
   5 consumers” so as to “forg[e] a long-term relationship with them.” (Id.) Even
   6 Defendant’s 2016 SEC Form-10K disclosed the upcoming change—“we are
   7 implementing a range of new initiatives to boost our economy portfolio” which the
   8 “Keystone family plans to unveil new packaging early this year.” (RJN at Ex. 10.)
   9          Defendant apparently believed that capturing the STONE® name would be
  10 good for business. In early 2017, Defendant quietly announced the rebrand through
  11 an online video that has since been scrubbed from Defendant’s “MillerCoors TV”
  12 webpage after this suit was filed. (STONE Decl. at ¶ 50.) In the video, an archived
  13 copy of which remains indirectly accessible online, Defendant’s Economy Brand
  14 Manager, Sean Robberson, stated that Defendant is “leaning in” to “Stone,” and that
  15 “through the packaging and turning media back on,” this rebrand would “be big
  16 business for all of us.” (Id.)
  17          A short time later, in April 2017, Defendant published an online blog post
  18 officially announcing the rebrand of Keystone to “STONE.” (STONE Decl. at ¶ 51.)
  19 It stated that Keystone would be launching “a refreshing new look” and that the can
  20 would be relabeled from its historic “Keystone” mark to a can that “plays up”
  21 STONE. (Id.)
  22          Defendant described the rebrand as a “new design” and stated that it would be
  23 accompanied by “new marketing” which would be used “across every touch point to
  24 create a refreshed and bold brand experience.” (STONE Decl. at ¶ 51.) 2 Other than
  25 Defendant’s own promotion, this news was not picked up by major media sources.
  26 (Id.)
  27
       2
       The Article also stated that the “new packaging” would also extend to the Keystone
  28 Ice and Keystone Premium products. (Id.)
                                            9           Case No. 18-cv-0331-BEN-JMA
             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                            MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.337 Page 17 of 48



   1         In July 2017, Defendant changed the Keystone Light Facebook profile to
   2 separate out the “KEY” and “STONE” on separate lines. (STONE Decl. at ¶ 52.)
   3 Thereafter, the photos posted on Facebook took on a marked shift. In virtually every
   4 photograph posted, Keystone Light cans were positioned to emphasize “STONE,”
   5 with significantly less visibility of the “LIGHT” component. In most cases, “KEY”
   6 was entirely or mostly obscured. (STONE Decl. at ¶ 53; see Demonstrative A.iii.)
   7         Similar advertising campaigns began to feature the redesigned Keystone can,
   8 often accompanied by slogans or taglines such as the August 2017 campaign to
   9 “Hunt the STONE.” (STONE Decl. at ¶ 54.) In images used with the campaign,
  10 Defendant strategically isolated its beer cans so that only “STONE” would be visible.
  11 (Id.; see Demonstrative A.iv.)
  12         Defendant likewise encouraged Keystone consumers to begin calling the brand
  13 “Stone”. For example, Defendant’s 2016 “Can Hunt” contest changed from
  14 challenging buyers to post images of a “mounted Northern Pike" to persuading
  15 consumers to refer to Keystone Light as “Stone.” (Id. at ¶ 54; see Demonstrative
  16 A.v.)
  17               Defendant’s Plan to Escalate Infringement
  18               1.    Sales Uptick After Keystone’s Infringement
  19         Defendant’s executives lauded the success of Keystone’s infringing rebrand,
  20 and ordered an acceleration in the distribution of “STONE” Keystone. In September
  21 2017, Defendant celebrated that “a quiet revolution was underway in Nielsen’s
  22 weekly list of the top 10 growth brands in the beer industry.” (STONE Decl. at ¶
  23 49.) Namely, Keystone was now “the top economy brand on the list […] buoyed by a
  24 brand renovation.” (Id.)
  25         Thereafter, Defendant planned to move forward on all cylinders. In October
  26 2017, Defendant’s CEO Gavin Hattersley previewed their strategy: “We’re leaning
  27 in” and “We’re confident we have the right plan to get to growth, and we’re
  28
                                         10          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.338 Page 18 of 48



   1 continuing to execute with relentless focus.” 3 (STONE Decl. at ¶ 66.) After
   2 November, Defendant substantially increased its social media activity. (Id. at ¶¶ 51-
   3 54.) Whereas Defendant had only averaged approximately four posts per month from
   4 April 2017 through November 2017, Defendant made 10 posts to its Facebook
   5 account in December 2017 alone, highlighting the infringing can and “STONE”-
   6 centric taglines. (Id. at ¶ 19.)
   7                2.    Strategic Marketing of Infringing “STONE” Rebrand
   8         Only recently has Stone learned the sheer geographic scope of Defendant’s
   9 infringing marketing. Going beyond product labeling and advertising, Defendant has
  10 been using other mechanisms to drive home its “STONE”-centric rebrand.
  11         On roadways, Defendant’s delivery trucks and billboards highlight “STONE”
  12 as a primary brand signifier, i.e., rather than the tiny “Keystone” that serves as a
  13 footnote. (STONE Decl. at ¶¶ 77-78; see Demonstrative A.vi.)
  14         Keystone’s suppliers, merchandisers, and retailers have been instructed to
  15 display the rebranded cans with the “STONE” side facing outward. The result is to
  16 deconstruct the prior “KEYSTONE” brand and present Keystone light as “STONE”
  17 to consumers browsing beer aisles and shelves, as seen in “candid” photos of
  18 Keystone as it appears in retail stores. (STONE Decl. at ¶¶ 69-76; see Demonstrative
  19 A.vii.)
  20                Consumers Are Confused by Defendant’s Infringing “STONE”
                    Beer
  21
             Defendant’s methodical efforts to co-opt Plaintiff’s STONE® mark through its
  22
       new, unrecognizable “STONE” brand are causing confusion and have enabled
  23
       Defendant to siphon off the goodwill and reputation of Plaintiff’s STONE® Marks.
  24
       Both before and after the filing of this action, Stone has heard from customers
  25
  26
  27   3
      Mr. Hattersley had firsthand knowledge of the Keystone plan, having served as the
     direct supervisor of the marketing team during the roll-out of the infringement cam-
  28 paign. (STONE Decl. at ¶ 66.)
                                          11          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.339 Page 19 of 48



   1 reporting confusion with Defendant’s rebranded Keystone products. (STONE Decl.
   2 at ¶¶ 56-65.)
   3         In December 2017, Stone received an email from a consumer asking: “Any
   4 upcoming news regarding Stone Lite?” (STONE Decl. at ¶ 56.) For a brand that has
   5 spent over 20 years adamant that it does not brew light beer, this was a stinging blow.
   6 (Id. at ¶ 57.) Thereafter, Stone has begun to discover the extent of the consumer
   7 confusion that was occurring nationwide. As detailed infra, consumers are using
   8 social media to voice complaints, alerts and other surprises at Stone’s apparent
   9 launch of a light beer. (Id. at ¶¶ 56-65.)
  10                 Scientific Survey of Consumers Shows Overwhelming Confusion
  11         In response to Defendant’s action, Stone commissioned a well-regarded
  12 marketing expert, Professor David Stewart, Ph.D., to design a controlled, scientific
  13 survey to determine the precise level of confusion caused by Defendant’s rebranding
  14 of Keystone as “STONE.” (Stewart Decl. at ¶ 1.) Dr. Stewart designed a “Squirt”
  15 survey (the “Survey”) which asked targeted, non-suggestive questions of 501 beer
  16 consumers using actual images and in-store displays as stimuli. (Id. at ¶ 2.) The
  17 Survey used three third party beer brands as control groups, Busch Light, Rolling
  18 Rock and Pabst Blue Ribbon, to distinguish any ambient or background confusion.
  19 (Id. at ¶ 3.)
  20         According to Dr. Stewart, the results show an extraordinary level of confusion
  21 between the parties’ competing “STONE” products and advertising:
  22         •       43% of beer consumers report that Keystone’s new beer label is likely
  23 owned by, endorsed by or otherwise affiliated with Stone’s incontestable STONE®
  24 mark. (Id. at ¶¶ 4-6.)
  25         •       Keystone’s new label produces “net confusion” of more than 25%
  26 compared to other brands on the market. (Id.) This is substantially above the
  27 threshold amount of 10-15% accepted in the Ninth Circuit, and far above all three
  28 control brands.
                                          12          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.340 Page 20 of 48



   1         •      Almost no net confusion was caused by Keystone’s historic
   2 “KEYSTONE” beer label, which had a net confusion score of only 4.7%, less than
   3 the amount of confusion generated by the Rolling Rock control. (Id. at ¶ 6.)
   4                              Net Confusion with STONE®
   5       30%

   6                  25%
           25%
   7
           20%                                                        Likelihood of Confusion
   8                                                                  Threshold (9th Cir.)
           15%
   9
           10%
  10                               6.10%
                                                  4.70%
  11        5%


  12        0%
                                                                 -0.20%
  13        -5%
                                                                                     -5.90%
  14
           -10%
                    Keystone     Rolling Rock    Keystone      Busch Light      Pabst Blue Ribbon
  15               (New Can)                     (Old Can)

  16
             •      Existing STONE® beer consumers were just as likely to be confused as
  17
       non-STONE® beer drinkers by Defendant’s use of the word “STONE”. (Id.)
  18
             In his conclusion, Dr. Stewart opines that Defendant’s new “STONE”-centric
  19
       beer can is causing a material and devastating shift in the way that beer drinkers
  20
       interact with Stone’s brand, and that the STONE® mark is experiencing substantial
  21
       and long-term brand damage due to source confusion with Defendant’s inferior
  22
       Keystone products. (Id. at ¶ 89.)
  23
                    Defendant’s Infringement Is Accelerating
  24
             Defendant’s rebranding campaign has gathered even more momentum in
  25
       recent weeks. Two days after the filing of the lawsuit, Defendant reported in its 2017
  26
       SEC Form-10K that “[o]ur below premium brand volumes show a trend
  27
       improvement relative to recent years led by the Keystone family.” (RJN at Ex. 11
  28
                                          13          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.341 Page 21 of 48



   1 (emphasis added).) During a call with investors and analysts, Defendant’s CEO, Mr.
   2 Hattersley specifically highlighted Keystone as having the best performance in eight
   3 years. (STONE Decl. at ¶ 66.)
   4        Defendant’s exuberance for its newly adopted “STONE” cans is reflected on
   5 store shelves. Three weeks after this lawsuit, Defendant submitted a planogram
   6 (“POG”), the visual plan which designates the placement of products on the shelves,
   7 to retailers to reflect the continued intent to emphasize “STONE.” (STONE Decl. at
   8 ¶ 69; see Demonstrative A.viii.)
   9        In Defendant’s Winter 2018 trade publication, Defendant announced the name
  10 of the 2017 infringement campaign—“Owning the ‘Stone”— disclosing that it would
  11 be increasing its “equity-driven program” to co-opt the STONE mark, “through the
  12 use of bold retail POS that (literally) breaks through.” (STONE Decl. at ¶ 79.)
  13        Defendant also is in the process of using its size and control of the distributing
  14 channels to saturate the market with its rebranded “STONE.” For example,
  15 Defendant has disclosed the plans for a “STONE”-centric Summer 2018 marketing
  16 campaign. (STONE Decl. at ¶ 80.)
  17               Stone is Suffering Long Term Irreparable Harm
  18        In many ways, the injury to Stone’s brand is existential to the company. Its
  19 STONE® mark and goodwill are being counterfeited by one of the world’s largest
  20 beer companies – an effort designed to mislead consumers that Keystone is affiliated
  21 with Stone. Even now, consumers are reporting bewilderment at finding that Stone
  22 has launched a light beer – a concept that is anathema to Stone’s founding principles
  23 and existence. (STONE Decl. ¶¶ 56-65.) As noted by Stone’s President and Co-
  24 Founder, Steve Wagner: “We are everything that MillerCoors is not: craft-based, in-
  25 dependent, focused on quality, iconoclastic, with founders still involved in the busi-
  26 ness. We also hate light beer and have pledged to our fans that we will never sell
  27 out.” (Id. ¶ 83.)
  28
                                         14          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.342 Page 22 of 48



   1         Stone’s expert, Dr. Stewart, notes that the association with Keystone not only
   2 damages Stone’s goodwill with existing consumers, but also undermines its relation-
   3 ship with potential new consumers – lost sales that will be almost impossible to
   4 quantify. (Stewart Decl. ¶ 89.) Indeed, consumers who have not consumed Stone in
   5 the past will increasingly be likely to mistake STONE® beer for some kind of line
   6 extension or outgrowth of Keystone’s revamped “STONE” label. Once it occurs,
   7 such “reverse confusion” will be impossible to fully repair.
   8                                       ARGUMENT
   9         Courts are empowered “to grant injunctions, according to the principles of
  10 equity and upon such terms as the Court may deem reasonable” so as to prevent
  11 irreparable harm stemming from trademark infringement. 15 U.S.C. § 1116(a); FRCP
  12 65(b). A party seeking a preliminary injunction must make a “clear showing” of:
  13 (1) a likelihood of success on the merits, (2) a likelihood of irreparable injury to the
  14 plaintiff if injunctive relief is not granted, (3) a balance of hardships favoring the
  15 plaintiff, and (4) an advancement of the public interest. Pom Wonderful LLC v.
  16 Hubbard, 775 F.3d 1118, 1124 (9th Cir. 2014).
  17         As demonstrated below, Stone is entitled to injunctive relief because it is
  18 virtually certain to succeed on the merits, and Defendant’s escalating infringement of
  19 the STONE® mark is causing irreparable and irreversible harm to Stone’s trademark,
  20 goodwill and business.
  21 I.      THE TRUE STONE® HAS A STRONG LIKELIHOOD OF SUCCESS
             ON ITS TRADEMARK INFRINGEMENT CLAIM
  22
             To prevail on its trademark infringement claims, Stone must show: (1) that it
  23
       owns a valid, protectable trademark, and (2) that Defendant’s infringing mark is
  24
       likely to “cause confusion, or to cause mistake, or deceive.” KP Permanent Make-
  25
       Up, Inc. v. Lasting Impression, Inc., 543 U.S. 111, 117 (2004). Defendant’s willful
  26
       copying of the STONE® mark is a classic example of infringement under applicable
  27
       Ninth Circuit precedent. Moreover, the net confusion amongst beer drinkers
  28
                                          15          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.343 Page 23 of 48



   1 demonstrated in Stone’s study of beer drinkers (25%) is significantly higher than the
   2 10-15% minimum threshold accepted in the Ninth Circuit for issuance of a
   3 preliminary injunction. See Warner Bros. Entm't v. Glob. Asylum, Inc., No. CV 12-
   4 9547 PSG CWX, 2012 WL 6951315, at *9 (C.D. Cal. Dec. 10, 2012), aff'd, 544 F.
   5 App'x 683 (9th Cir. 2013) (TRO granted where survey showed net confusion of 16-
   6 24%); Hansen Beverage Co. v. Cytosport, Inc., No. CV 09-0031-VBF(AGRX), 2009
   7 WL 5104260, at *16 (C.D. Cal. Nov. 4, 2009) (12.5% net confusion; preliminary
   8 injunction granted); CSC Brands LP v. Herdez Corp., 191 F. Supp. 2d 1145, 1152
   9 (E.D. Cal. 2001) (15% gross confusion; preliminary injunction granted).
  10               Stone’s Incontestable STONE® Mark
  11         The Ninth Circuit has long recognized that the registration of a mark “on the
  12 principal register in the patent and trademark office constitutes prima facie evidence
  13 of the validity of the registered mark and of [the registrant’s] exclusive right to use
  14 the mark on the goods and services specified in the registration.” See, e.g.,
  15 Interstellar Starship Servs. v. Epix, Inc., 184 F.3d 1107 (9th Cir. 1999); Applied
  16 Information Sciences Corp. v. eBay, 511 F.3d 966 (9th Cir. 2007). And, upon a
  17 declaration of incontestability, “the registration shall be conclusive evidence of the
  18 validity of the registered mark and of the registration of the mark, of the registrant’s
  19 ownership of the mark, and of the registrant’s exclusive right to use the registered
  20 mark in commerce.” 15 U.S.C.A. § 1115(b).
  21         Stone has carefully crafted and preserved its trademarks since first registering
  22 the STONE® trademark with the U.S. Patent and Trademark Office in June 1998
  23 under U.S. Registration No. 2168093. The strength of Plaintiff’s STONE® brand
  24 and commercial success exponentially increased over the course of the next 10 years
  25 and became incontestable in June 2008. (Stewart Decl. at ¶ 18; RJN at Ex. 4.)
  26         As an incontestable mark, Plaintiff’s STONE® Mark is afforded the gamut of
  27 heightened protections—conclusive evidence of validity of the Mark, of Stone’s
  28 ownership of the mark, and exclusive right to use the registered mark in commerce.
                                          16          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.344 Page 24 of 48



   1 15 U.S.C. § 1115(b); Clamp Mfg. Co., Inc. v. Enco Mfg. Co., Inc., 870 F. 2d 512, 514
   2 (9th Cir. 1989) (“incontestable status provides the mark with a conclusive
   3 presumption of validity”).
   4                Defendant’s Attempt to Misappropriate “STONE” Creates Obvious
                    Likelihood of Confusion
   5
             Stone also is likely to prevail on its claim that Defendant’s use of “STONE”
   6
       on its beer cans is likely to cause consumer confusion; in fact, evidence of actual
   7
       confusion already exists. Courts in the Ninth Circuit apply the eight-factor Sleekcraft
   8
       factors from AMF, Inc. v. Sleekcraft Boats, 599 F.2d 341 (9th Cir. 1979): (1) strength
   9
       of plaintiff’s mark; (2) relatedness of the goods; (3) likely degree of purchaser care;
  10
       (4) similarity of the marks; (5) evidence of actual confusion; (6) marketing channels
  11
       used; (7) defendant’s intent in selecting the mark; and (8) likelihood of expansion of
  12
       the product lines. 599 F.2d at 348-49. The relative importance of each factor is case-
  13
       specific; the factors are “intended as an adaptable proxy for consumer confusion, not
  14
       a rote checklist.” Brookfield Commc’ns, Inc. v. W. Coast Entm’t Corp., 174 F.3d
  15
       1036, 1054 (9th Cir. 1999).
  16
             Here, in addition to satisfying the other factors, the evidence of actual
  17
       confusion and Stone’s survey of beer drinkers demonstrates significant levels of
  18
       confusion that courts in similar cases in this Circuit almost uniformly have enjoined
  19
       at the preliminary injunction stage. The same goes for the willful nature of
  20
       Defendant’s incursion on Plaintiff’s STONE® territory, i.e., its knowledge from prior
  21
       experience before the PTO that adopting Stone’s name would cause outright
  22
       confusion amongst beer drinkers.
  23
                    1.     Strength of Mark: The STONE® Mark is Rock Solid
  24
             The strength of a trademark is based on its distinctiveness. Two Pesos, Inc. v.
  25
       Taco Cabana, Inc., 505 U.S. 763, 768-69 (1992). The spectrum of distinctiveness
  26
       ranges from the weakest generic or descriptive marks, which merely describe the
  27
       product being sold, to the strongest arbitrary or fanciful marks. Two Pesos, 505 U.S.
  28
                                          17          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.345 Page 25 of 48



   1 at 768-69. Arbitrary and fanciful marks are the strongest class of trademarks because
   2 “their intrinsic nature serves to identify a particular source of a product,” rather than
   3 a quality of the product itself. Two Pesos, 505 U.S. at 768-69. As such, “arbitrary
   4 marks merit the strongest protection” to preserve their source-identifying function
   5 and resulting goodwill. FAZE Apparel, LLC v. Faze Clan, Inc., No. 2:18-cv-02052
   6 RGK (JEMx), slip op. at 5 (C.D. Cal. May 22, 2018) (Where “Plaintiff's marks are
   7 conceptually strong… any association consumers have between its marks and its
   8 products is likely the result of goodwill meriting broad protection”). Further, if the
   9 mark is incontestable, certain infringement defenses are not available, such as
  10 arguing that the mark is merely descriptive. Clamp Mfg. Co., Inc, 870 F. 2d at 514
  11 (“incontestable status…prevents a defense to infringement on the grounds that the
  12 mark is merely descriptive.”)
  13        As evidenced by the story of its origin, the STONE® Mark is arbitrary and
  14 inherently distinctive. (STONE Decl. at ¶ 3.) It does not describe Stone’s products,
  15 but was selected simply because Stone’s founders Greg Koch and Steve Wagner
  16 liked the name. (Id.) The goodwill attached to the STONE® mark is due entirely to
  17 its association with Plaintiff and its brews. See FAZE Apparel, slip op. at 5.
  18 Accordingly, the STONE® Marks are classic arbitrary marks that serve solely as a
  19 source identifier for Plaintiff’s absurdly good beer.
  20        In addition to its conceptual strength, the STONE® Mark’s commercial
  21 strength has grown exponentially since 1996 through Stone’s substantial investments
  22 in, and promotion of, its unapologetic brand—expanding from selling in all 50 states
  23 to internationally, opening a Stone World Bistro & Gardens™ in Berlin, Germany,
  24 and becoming the eighth largest independent craft brewer in the United States. (Id. at
  25 ¶ 12.) Because Plaintiff’s STONE® Mark is conceptually and commercially strong,
  26 this factor weighs in favor of a preliminary injunction as a matter of law.
  27
  28
                                         18          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.346 Page 26 of 48



                    2.    Relatedness of Goods: Beer and Beer
   1
              “Related goods are those products which would be reasonably thought by the
   2
       buying public to come from the same source if sold under the same mark.”
   3
       Sleekcraft, 599 F.2d at 348 n. 10. “Where goods are related or complementary, the
   4
       danger of consumer confusion is heightened.” E & J Gallo Winery v. Gallo Cattle
   5
       Co., 967 F.2d 1280, 1291 (9th Cir. 1992). When it comes to alcoholic beverages,
   6
       courts have held that consumers are likely to use a relatively low degree of care when
   7
       selecting products, thus increasing the likelihood of confusion between related
   8
       products using similar marks. Fleischmann Distilling Corp. v. Maier Brewing Co.,
   9
       314 F.2d 149, 159–60 (9th Cir. 1963) (the average consumer purchasing beer “would
  10
       probably not concern himself about any such detail” such as who was “actually
  11
       brewing and bottling” or “whether it was being produced under their supervision or
  12
       pursuant to some other arrangement.”); Anheuser-Busch, Inc. v. Customer Co., 947 F.
  13
       Supp. 422, 425 (N.D. Cal. 1996) (“because beer is a relatively inexpensive product,
  14
       consumers are not likely to use great care in selecting beer”); Guinness United
  15
       Distillers & Vintners B.V. v. Anheuser–Busch, Inc., 2002 WL 1543817, at *6
  16
       (S.D.N.Y. July 12, 2002) (“high end” beer and Scotch whiskey constitute “relatively
  17
       low cost products, and the average consumer is not likely to seek to identify the true
  18
       manufacturer of these products.”); Fiji Water Co., LLC v. Fiji Mineral Water USA,
  19
       LLC, 741 F.Supp.2d 1165, 1180 (S.D. Cal. 2010)(even though considering
  20
       “premium” beverages, “purchase is made on impulse by consumers while they are in
  21
       store.”).
  22
              Here, there is an even stronger likelihood of confusion. Any beer consumer
  23
       that walks into a grocery store and asks for “Stone” beer, is more likely to be directed
  24
       to Stone’s selection, which has born the STONE® mark since its inception, then they
  25
       are to Defendant’s Keystone beer. This confusion is only magnified when applied to
  26
       all beer drinking scenarios—in bars, at restaurants, at sports events, social occasions,
  27
       and the list goes on. In fact, actual beer consumers specifically identified
  28
                                           19          Case No. 18-cv-0331-BEN-JMA
            PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                           MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.347 Page 27 of 48



   1 Defendant’s rebranded emphasis of “STONE” on its cans as the cause of the false
   2 association with Plaintiff’s STONE® beer. (STONE Decl. at ¶¶ 56-65; Stewart Decl.
   3 at ¶ 6.)
   4        The Ninth Circuit’s analysis of confusion in the alcohol industry in
   5 Fleischmann Distilling Corp. is instructive. The Court contemplated the expected
   6 experience of the average consumer when confronted with the alcoholic beverages—
   7 “What are we to say about the same purchaser who starts for home on a hot evening
   8 and decides to take home beer for refreshment? He stops at Ralphs and notes beer
   9 bearing the label ‘Black & White’ in that store's stock. We think it to be plain that the
  10 likelihood of confusion and mistake is present here” in that he would be likely to
  11 believe “that the maker of the beer had some connection with the concern which had
  12 produced the well known Black & White Scotch whisky.” Id., 314 F.2d at 155, 59-
  13 60. As Justice Pope explained, “we are dealing here with operations in the alcoholic
  14 beverage industry. It seems to us that necessarily the use on defendants' alcoholic
  15 beverage of [plaintiff’s] trademark would be likely to cause confusion or mistake or
  16 to deceive purchasers as to the source of origin of such goods.” Id., 314 F.2d at 156.
  17        The present case is much stronger than Fleischmann, which at least involved
  18 different types of alcohol sold in different parts of a liquor store. Here, both Stone
  19 and MillerCoors are selling the same good (beer), through the same channels
  20 (grocery, supermarket, bars, restaurants, liquor stores, online), using the same
  21 distributors (over fifty of them), and using the same name (“STONE”).
  22        Defendant is likely to argue that Stone’s status as a craft brand somehow
  23 insulates it from consumer confusion – but marketing evidence shows otherwise.
  24 The Fleischmann court squarely rebuffed that analysis. Fleischmann Distilling
  25 Corp., 314 F.2d at 159-60 (beer and whiskey are “so related as to fall within the
  26 mischief which equity should prevent”); see also, POM, 775 F.3d at 1127 (even
  27 “fruit-juice beverages and fruit-flavored energy drinks are sufficiently
  28 complimentary and related”). Moreover, in this case, Dr. Stewart found that
                                          20          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.348 Page 28 of 48



   1 consumers are readily willing to associate Stone with Defendant’s “big beer”
   2 Keystone brand, mistakenly believing that there is a formal ownership, association or
   3 endorsement between the two companies. (Stewart Decl. at ¶ 6.) Dr. Stewart notes
   4 that not only are a majority of Stone’s consumers willing to associate the brands with
   5 each other, but that such source confusion will continue to occur. (Stewart Decl. at ¶
   6 7 (Defendant’s rebranded can generating more than 25% net confusion with
   7 Plaintiff’s STONE® beer).) As such, this Sleekcraft factor strongly favors Stone.
   8               3.    Similarity of Marks: STONE® Beer versus “STONE” Beer
   9        A “critical question in the likelihood-of-confusion analysis” is the similarity of
  10 the marks at issue. GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1205 (9th Cir.
  11 2000). Similarity is tested on three levels: sight, sound and meaning, where the court
  12 weighs similarities between the marks more heavily than their differences. Brooklyn
  13 Brewery Corp. v. Black Ops Brewing, Inc., 156 F. Supp. 3d 1173, 1179 (E.D. Cal.
  14 2016); GoTo.com, Inc., 202 F.3d at 1205. When, as here, a defendant is using identi-
  15 cal marks “with identical products or services, likelihood of confusion would follow
  16 as a matter of course.” Stone Creek, Inc. v. Omnia Italian Design, Inc., 875 F.3d 426,
  17 432 (9th Cir. 2017); Brookfield Commc’ns Inc., 174 F.3d at 1056.
  18        Defendant has rebranded “Keystone” beer so that its primary source identifier
  19 is “STONE.” (STONE Decl. at ¶¶ 49-54.) It has instructed retailers to display the
  20 cans so that “KEY” is obscured. (Id. at ¶¶ 69-76.) It has produced in-store displays
  21 on which only “STONE” is visible. (Id. at ¶ 55.) In so doing, Defendant has adopted
  22 Plaintiff’s STONE® Mark to market an identical product—beer. Such copying is
  23 presumed to create a likelihood of confusion “as a matter of course.” Stone Creek,
  24 875 F.3d at 432. But drawing such a presumptive conclusion is not even necessary
  25 in this case, since actual consumer response and survey responses evidence the con-
  26 fusion generated in the market by nature of Defendant’s rebrand. (STONE Decl. at ¶
  27 61 (“I almost fell for it…It was with the cheaper beers as an individual can to buy. I
  28 thought nice, a cheap stone, I’ll try this one out…”); Stewart Decl. at ¶¶ 6-7.)
                                         21          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.349 Page 29 of 48



                   4.     Marketing Channels: Plaintiff and Defendant Utilize Nearly
   1                      Identical Marketing Channels
   2        STONE® and Keystone share the same channels of trade and distribution,
   3 easily satisfying Sleekcraft’s notation that “Convergent marketing channels increase
   4 the likelihood of confusion.” 599 F.2d at 353. 4 Stone and Defendant both sell
   5 through thousands of the same stores, restaurants, pubs and liquor stores. (Stewart
   6 Decl. ¶ 23.) The products literally are seen on the same aisle. (Id. ¶ 24.) The brands
   7 also advertise and sell merchandise through their corresponding websites, market via
   8 the same social media channels (including Facebook, Twitter, and Instagram), and
   9 use similar in-store displays and brand packaging. (STONE Decl. at ¶¶ 27, 37, 39.)
  10 In fact, Defendant controls some of Stone’s marketing channels by virtue of its
  11 affiliations with distribution houses through which Stone distributes its beer in
  12 certain regions. (Id. at ¶ 27.)
  13        This holistic overlap in marketing channels is more than sufficient to increase
  14 the risk, and reality, of consumer confusion, which the PTO itself recognized back in
  15 2008 in denying Defendant’s “STONES” application. In re. Trademark Application
  16 No. 77284994 – STONES (“it is foreseeable that customers of the applicant
  17 [Defendant] might encounter the registrant’s [Stone] respective goods and mark in
  18 the marketplace given similar channels of trade within which the identified goods
  19 travel”). See also Anheuser-Busch, 947 F. Supp. at 425 (convergent marketing
  20 channels favored injunction where plaintiff’s beer was “distributed through a broad
  21 range of supermarkets, liquor stores and convenience stores.”).
  22        This Sleekcraft factor weighs strongly in Stone’s favor.
  23               5.     Defendant’s “STONE” Rebrand Creates Actual Confusion
  24        Although not required, evidence of actual confusion constitutes “proof posi-
  25 tive” of the likelihood of confusion factor. See E. & J. Gallo Winery, 150 F.3d at
  26
       4
       When parties offer and advertise competitive products in identical channels of
  27 trade, this factor weighs strongly in Plaintiff’s favor. YKK Corp. v. Jungwoo Zipper
     Co., Ltd., 213 F. Supp. 2d 1195, 1205 (C.D. Cal. 2002); Brookfield Commc’ns, Inc.,
  28 174 F.3d at 1054 (direct competition is an “important” factor in favor of injunction).
                                          22          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.350 Page 30 of 48



   1 1047 n.7; Clicks Billiards Inc. v. Sixshooters. Inc., 251 F.3d 1252, 1265 (9th Cir.
   2 2001). “In the Ninth Circuit, district courts often rely on three types of evidence to
   3 demonstrate actual confusion: (1) evidence of actual instances of confusion; (2) sur-
   4 vey evidence; and (3) inferences arising from judicial comparison of the conflicting
   5 marks and the context of their use in the marketplace.” HM Elecs., Inc. v. R.F.
   6 Techs., Inc., No. 12-CV-2884-MMA (WMC), 2013 WL 12074966, at *5 (S.D. Cal.
   7 Oct. 3, 2013).
   8        Here, there is both scientific and actual evidence of consumer confusion, con-
   9 clusively weighing this factor in favor of injunction.
  10                     a.     Actual Consumer Statements of Confusion
  11        Beer consumers have shared their personal experiences of actual confusion in
  12 the market, constituting “persuasive proof” that future confusion will occur.
  13 Sleekcraft, 599 F.2d at 352. These consumer statements detailed how consumers
  14 were victims to initial interest confusion— “I legit almost bought one” and that a
  15 consumer saw Defendant’s rebranded “STONE” can and was surprised that “stone
  16 has a light beer now?!” (See STONE Decl. ¶¶ 61-62.)
  17        The consumer statements also illustrate the detrimental effect Defendant’s
  18 infringement has and will have on Stone’s goodwill and investment in the STONE®
  19 brand. Consumers have stated: “The first thing I thought when seeing them in the
  20 aisle was, “Stone’s branding has gone to shit.”; and “when I saw [Defendant’s] can I
  21 immediately thought damn I didn’t think Stone made light beer.” (Id. ¶ 63.)
  22        Particularly concerning is the consumer inquiry Stone received regarding its
  23 “Stone Lite” beer in December 2017. (Id. ¶ 56.) Such evidence of actual confusion
  24 supports issuance of a preliminary injunction, particularly given the market in which
  25 the parties compete. When goods are inexpensive, as alcoholic beverages are,
  26 “[p]urchasers are unlikely to bother to inform the trademark owner when they are
  27 confused about an inexpensive product.” 4 McCarthy on Trademarks and Unfair
  28 Competition § 23:18 (5th ed.) (citing Beer Nuts, Inc. v. Clover Foods Co., 805 F.2d
                                         23          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.351 Page 31 of 48



   1 920, 928 (10th Cir. 1986)); see also, Au-Tomotive Gold, Inc. v. Volkswagen of
   2 America, Inc., 457 F.3d 1062, 1077 (9th Cir. 2006) (considering the fact that the case
   3 “involves a national market and a low degree of consumer care,” the challenge to the
   4 extent of consumer confusion evidence was not “particularly noteworthy”).
   5         Coupled with survey evidence, this contemporaneous inquiry submitted
   6 directly to Stone at the time Defendant was saturating the market with its infringing
   7 “STONE” Light beer, indicates that confusion is occurring in the marketplace.
   8                      b.     Scientific Survey Evidence Shows Massive Confusion
   9         “Survey evidence may establish actual confusion” under the Lanham Act.
  10 Thane Int'l, Inc. v. Trek Bicycle Corp., 305 F.3d 894, 902 (9th Cir. 2002).
  11 Accordingly, “[s]urveys are commonly introduced as probative evidence of actual
  12 confusion.” Playboy Enterprises, Inc. v. Netscape Commc'ns Corp., 354 F.3d 1020,
  13 1026 n. 28 (9th Cir. 2004). Though not required to prove infringement, survey
  14 evidence is weighted heavily where available and is often dispositive. See, e.g.,
  15 Thane, 305 F.3d 894 at 902 (plaintiff’s survey showing 27.7% consumer confusion
  16 was sufficient on its own to support finding of actual confusion; summary judgment
  17 for defendant reversed).
  18         At the preliminary injunction stage, survey evidence is more than sufficient to
  19 establish the “actual confusion” factor of the Sleekcraft test. CytoSport, Inc. v. Vital
  20 Pharm., Inc., 617 F. Supp. 2d 1051, 1075–76 (E.D. Cal. 2009), aff'd, 348 F. App'x
  21 288 (9th Cir. 2009) (“It is sufficient for a preliminary injunction motion that plaintiff
  22 has proffered survey evidence as some evidence of actual confusion”). Indeed,
  23 producing survey evidence far exceeds the minimum showing required to obtain
  24 preliminary relief against infringement. See, e.g., Maxim Integrated Prod., Inc. v.
  25 Quintana, 654 F. Supp. 2d 1024, 1035 (N.D. Cal. 2009) (“Since actual confusion is
  26 difficult to prove, it is not necessary to do a survey before obtaining a preliminary
  27 injunction”) (granting preliminary injunction in absence of survey).
  28
                                          24          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.352 Page 32 of 48



   1          Courts in the Ninth Circuit focus on survey evidence of “net confusion,”
   2 which is defined as the “measure of a mark’s unique level of confusion above a
   3 normal baseline.” (Stewart Decl. ¶ 5; see Thane, 305 F.3d at 902 (crediting survey by
   4 Dr. Stewart showing 27.7% net confusion attributable to defendant’s mark).) Using a
   5 control group, the net confusion score eliminates ambient confusion and
   6 “background noise” in order to isolate the unique level of confusion caused by the
   7 infringing mark. See CytoSport, 617 F. Supp. 2d at 1075 (deriving “net confusion”
   8 score of 25.4%, granting preliminary injunction).
   9        Net confusion scores of 20% and above are generally sufficient to establish
  10 actual confusion. See Adidas Am., Inc. v. Skechers USA, Inc., No. 16-35204, 2018
  11 WL 2142648, at *5 (9th Cir. May 10, 2018) (affirming preliminary injunction in part
  12 where “actual confusion” evidence consisted of survey showing 20% confusion);
  13 Fiji, 741 F. Supp. 2d at 1179 (preliminary injunction granted where sole “actual
  14 confusion” evidence was survey showing 24.3% net confusion); Thane, 305 F.3d at
  15 902 (survey showing 27.7% net confusion was sufficient on its own to support
  16 finding of likely confusion at trial). At the preliminary injunction stage, such levels
  17 far exceed the minimum requirements for injunctive relief. Indeed, confusion
  18 between 10% and 15% has been deemed substantial for purposes of granting a
  19 preliminary injunction when other Sleekcraft factors are present, as they are here.
  20 See CytoSport, 617 F. Supp. 2d at 1076 (“courts [in the Ninth Circuit and elsewhere]
  21 have accepted survey results well below the 25% net confusion, reported by plaintiff
  22 here, to support a finding of likelihood of confusion”) (collecting cases); additional
  23 cases cited supra at pp. 18-19.
  24        Dr. Stewart’s Squirt survey shows an overwhelming likelihood of confusion
  25 between the parties’ brands. Over 400 beer consumers took the survey, answering
  26 non-leading questions in a controlled format. Survey respondents viewed actual
  27 images and in-store displays of STONE® and Keystone beer, as well as third party
  28 beer brands being used as control stimuli. (Stewart Decl. at ¶¶ 33-35.)
                                          25          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.353 Page 33 of 48



   1         The results are summarized in Table 1, supra (“Net Confusion – 2018 Survey
   2 of Beer Drinkers”). It shows that 25% of beer consumers, on average, wrongly
   3 confuse Keystone’s redesigned 2017 beer can and packaging with STONE® beer.
   4 (Id. ¶¶ 5-6.) Conversely, Keystone’s old, pre-2017/18 can design induced almost no
   5 unique confusion, with less than 5% of consumers reporting any association between
   6 Keystone and STONE®. (Id. ¶ 6.) The same was true of other control brands, Pabst
   7 Blue Ribbon (negative confusion), Busch Light (negative confusion), Rolling Rock
   8 (9% confusion). (Id.) Respondents’ open-ended answers likewise supported these
   9 results, with consumers identifying the confusing similarity of Keystone’s redesigned
  10 can with that of Stone. (Id.)
  11         Even at the preliminary injunction stage, Stone has already produced evidence
  12 that would support a finding of consumer confusion at trial. See Thane, supra.5
  13 Accordingly, both forms of confusion evidence (actual and survey) weigh heavily in
  14 Stone’s favor.
  15                6.    Defendant’s Rebrand to Infringe on STONE® is Willful and
                          Intentional
  16
             When an alleged infringer knowingly adopts a mark similar to another's, courts
  17
       presume that the defendant can and did accomplish his purpose: that is, that the
  18
       public will be deceived. Sleekcraft Boats, 599 F.2d at 354; see also Official Airline
  19
       Guides, Inc. v. Goss, 6 F.3d 1385, 1394 (9th Cir. 1993) (noting that a plaintiff can
  20
       likely prevail on its trademark infringement claim if it can prove intent); Hokto
  21
       Kinoko Co. v. Concord Farms, Inc., 738 F.3d 1085, 1098 (9th Cir. 2013).
  22
       Accordingly, “knowing use” of a mark that is identical to that of the trademark
  23
       owner constitutes “strong evidence of intentional infringement and likelihood of
  24
       confusion.” Plasticolor Molded Prod v. Ford Motor Co., 698 F. Supp. 199, 201
  25
       (C.D. Cal. 1988). Equally important, proceeding to use a mark after being rejected
  26
  27   5
      In the Squirt survey format’s namesake case, the Eighth Circuit held that a survey
     showing 25% confusion “was sufficient to support an inference of likelihood of con-
  28 fusion” at trial. SquirtCo. v. Seven-Up Co., 628 F.2d 1086, 1091 (8th Cir. 1980).
                                          26          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.354 Page 34 of 48



   1 by the PTO on likelihood-of-confusion grounds establishes intent to infringe under
   2 Sleekcraft. FAZE Apparel, slip op. at 2 (granting preliminary injunction where
   3 Defendant used an infringing mark after the PTO “twice rejected its applications
   4 because Defendant’s proposed marks were confusingly similar to Plaintiff’s marks”).
   5        Here, Defendant intentionally redesigned its Keystone beer can to emphasize
   6 “STONE” despite actual knowledge of Stone’s incontestable STONE® trademark
   7 and products. In addition to competing against, reading about, and writing about
   8 Stone, over ten years ago, Defendant attempted to use “STONES” on its Keystone
   9 products and was expressly rejected by the PTO. The PTO’s ruling, discussed at
  10 length supra, unequivocally put Defendant on notice that confusion was “extremely
  11 likely” to occur. (RJN at Ex. 7 (“Confusion as to source or sponsorship is extremely
  12 likely if [MillerCoors’] proposed mark [“STONES”] is allowed to register.
  13 Registration is therefore refused by the examining attorney.”).) Defendant abandoned
  14 its application rather than losing a contest at the PTO. (Id. at Ex. 6.) And, a few
  15 years later, Defendant attempted to apply for a STONE-formative mark in
  16 connection with the tagline, “HOLD MY STONES.” (Id. at Ex. 8.) Stone opposed
  17 the application and Defendant later abandoned it. (Id. at Ex. 9.)
  18        In short, Defendant has been on notice for over a decade that using “STONE”
  19 on its beer cans would infringe Stone’s mark. Defendant’s representatives already
  20 were aware of Stone’s soaring future as one of the “biggest and most-established
  21 craft brewers.” (STONE Decl. at ¶ 43.) They also were aware of, and seeking to
  22 reverse, Keystone’s lagging fortunes and diminished market share. (Id. ¶ 49.) Thus,
  23 in a highly orchestrated roll-out, in April 2017, Defendant adopted “STONE” as its
  24 brand signifier. In doing so, Defendant reasonably must have known that it would be
  25 usurping Stone’s brand and goodwill – which it has successfully done. Keystone’s
  26 sales have skyrocketed and the rebranded beer can is now one of Defendant’s only
  27 growing beers. (Id.) Under such circumstances, Courts in this Circuit presume that
  28 “defendant can accomplish his purpose: that is, the public will be deceived.”
                                         27          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.355 Page 35 of 48



   1 Sleekcraft, 599 F.2d at 354.
   2                7.     Defendant’s Expansion of Product Line Infringes Upon Plain-
                           tiff’s Protected Mark
   3
              Finally, the expansion of business by a party to compete with the other weighs
   4
       in favor of finding trademark infringement. Sleekcraft Boats, 599 F.2d at 354. Here,
   5
       the parties already compete directly in the same channels and markets. Indeed,
   6
       Defendant intends to only further inundate the market with its infringing goods.
   7
       (STONE Decl. at ¶¶ 79-80.) Because the parties’ product lines already overlap,
   8
       confusion is likely and, indeed, occurring. Defendant’s plans to further swamp
   9
       Stone’s mark through expanded offerings to “capture the Stone” only make clear that
  10
       those efforts are accelerating.
  11
              In sum, every single factor under the Ninth Circuit’s Sleekcraft test shows that
  12
       confusion is likely and thus weighs in favor of granting a preliminary injunction.
  13
       II.    STONE WILL SUFFER IRREPARABLE HARM IF DEFENDANT IS
  14          NOT ENJOINED FROM CONTINUED INFRINGMENT
  15          Stone is an iconic California brewery whose identity is being stolen by one of
  16 the world’s biggest beer conglomerates. The STONE® mark is irreducibly linked to
  17 Stone’s ethos of independence, craft and critically-acclaimed beer, among other
  18 characteristics. See Sections A, B. Defendant’s ongoing misappropriation of Stone’s
  19 trademark for its Keystone beer is eroding Stone’s uniqueness and value in the
  20 market in ways that will never be capable of monetary remedy or compensation
  21 alone. This is the gravamen of irreparable harm, the loss of control over business
  22 reputation and damage to goodwill. Herb Reed Enters., LLC v. Florida Entm’t
  23 Mgmt, Inc., 736 F. 3d 1239, 1247 (9th Cir. 2013); 2Die4Kourt v. Hillair Capital
  24 Management, LLC, 2016 WL 4487895, at *7 (C.D. Cal. Aug. 23, 2016), aff’d 2017
  25 WL 2304376 (9th Cir. May 26, 2017); J. Thomas McCarty, McCarthy on
  26 Trademarks and Unfair Competition § 30:2, 30-10 (4th ed. 2016). Unless Defendant
  27 is enjoined from further willful infringement, Stone will continue to suffer
  28 irreparable harm in at least the following primary forms:
                                            28          Case No. 18-cv-0331-BEN-JMA
             PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                            MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.356 Page 36 of 48



   1         Diversion of Unknowable and Incalculable Sales
   2         Stone will be irreparably harmed as Defendant’s infringement diverts sales and
   3 attention away from the genuine STONE® brand. Diverted sales are a quintessential
   4 example of irreparable harm because they cannot be readily ascertained or reduced to
   5 money damages in retrospect. Stuhlbarg Int'l Sales Co. v. John D. Brush & Co., 240
   6 F.3d 832, 841 (9th Cir. 2001) (“Evidence of threatened loss of prospective customers
   7 or goodwill certainly supports a finding of the possibility of irreparable harm.”) Dr.
   8 Stewart’s survey demonstrates that an alarming proportion (25%) of beer drinkers
   9 mistake Defendant’s re-branded Keystone can for STONE®. Indeed, the data con-
  10 firm that existing STONE® drinkers are just as likely to be confused as consumers
  11 that have never purchased STONE® before. (Stewart Decl. ¶ 6.) Stone and Keystone
  12 are sold in close proximity to one another in stores across the United States. (STONE
  13 Decl. ¶ 27.) Not surprisingly, consumers have complained about being confused by
  14 Defendant’s use of the “STONE” mark and contend to have been deceived into be-
  15 lieving a false affiliation between the two brands. (STONE Decl. at ¶ 62 (“…I fell
  16 for it, buddy sent me a pic, and I replied: Holy s***, stone has a light beer now!?”).)
  17         Defendant also acknowledges that its sales have surged since it rebranded
  18 Keystone as “STONE.” (STONE Decl. at ¶ 66.) The proximity of the parties’ beers
  19 in the market, coupled with clear-cut evidence of actual confusion, compels the con-
  20 clusion that Defendant’s increased sales are attributable in part to its free-riding on
  21 the goodwill and reputation of the STONE® brand. Unless Defendant’s infringe-
  22 ment is enjoined, this free-riding will continue at an incalculable and irreparable cost
  23 to Stone and its brand.
  24         Loss of Control Over the STONE® Brand
  25         Stone will irreparably lose control of the STONE® mark’s reputation as
  26 Defendant floods the market with infringing “STONE” branded beer. Irreparable
  27 harm is shown where defendant’s infringement “confus[es] customers into believing
  28 that Plaintiff’s business is somehow affiliated” with defendant or its products. E. &
                                          29          Case No. 18-cv-0331-BEN-JMA
           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                          MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.357 Page 37 of 48



   1 J. Gallo Winery v. Grenade Beverage LLC, 2014 WL 5489076, at *5 (E.D. Cal. Sept.
   2 8, 2014) (granting summary judgment and permanent injunction for plaintiff). The
   3 same is true if plaintiff can demonstrate evidence of “perceived association” between
   4 the Plaintiff’s mark and the infringing product. Starbucks Corp. v. Heller, 2014 WL
   5 6685662, at *9 (C.D. Cal. Nov. 26, 2014).
   6        Here, there is abundant evidence of actual confusion from Dr. Stewart’s study
   7 and consumer complaints. This is a classic case of irreparable harm caused by
   8 trademark infringement. When consumers are deceived into thinking Defendant’s
   9 tepid Keystone beer is affiliated with or originates from the same source as Stone’s
  10 legendary craft brews, Stone loses control over whether their experience will be
  11 positive or negative – i.e., over the STONE® mark’s reputation. Years of effort and
  12 investment in crafting some of the best beer in the world will be rendered irrelevant
  13 as the quality (or lack thereof) of Defendant’s beer becomes a determining factor in
  14 consumers’ experiences. Stone’s loss of control over its own reputation is by its
  15 nature irreparable and impossible to compensate through money damages.
  16        Destruction of STONE®’s Hard-Earned Reputation and Goodwill
  17        Defendant’s infringement is specifically destroying the unique reputation and
  18 goodwill that Stone has cultivated under its premium STONE® brand. As detailed
  19 supra, the STONE® mark has been painstakingly constructed and loved by Stone
  20 during its twenty-plus year history. (See STONE Decl. §§ A-G.) As a result of these
  21 investments, Stone has enjoyed widespread critical acclaim and rapidly grown from a
  22 start-up brewer into an international craft beer icon. (See, e.g., STONE Decl. ¶¶ 12-
  23 20, 21-26, 28-31, 37-40.) It has received extensive unpaid national and international
  24 media coverage as a craft brewing phenomenon and established a reputation for
  25 independence and excellence. (Id. ¶¶ 28-31.) STONE® is a valuable, one-of-a-kind
  26 brand that enjoys a deep reservoir of goodwill, conferring myriad intangible benefits
  27 on Stone. See Adidas, 2018 WL 2142648, at *5 (unsolicited media coverage, quality
  28 control, and promotion of brand were sufficient to demonstrate a brand’s “intangible
                                         30          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.358 Page 38 of 48



   1 benefits” and goodwill that would be irreparably harmed absent injunction).
   2        The irreparable harm to Stone’s goodwill is painfully obvious. STONE® is
   3 synonymous with excellent craft beer. By contrast, Keystone is a mass-produced
   4 “value” brand whose flavor is a perennial subject of mockery and scorn among
   5 consumers. See Answer/CC at 10:20-22 (admitting that Keystone light is a “value”
   6 brand); Section C, supra (describing negative consumer reactions). By deceiving
   7 consumers into thinking that its “STONE”-branded Keystone beer is somehow
   8 related to STONE®, Defendant is directly attacking Stone’s hard-earned reputation
   9 for quality. Such “harm to advertising efforts and goodwill constitute ‘intangible
  10 injuries’ that warrant injunctive protection.” Adidas, 2018 WL 2142648, at *5
  11 (affirming preliminary injunction where plaintiff had “built a specific reputation
  12 around [its product] with intangible benefits” and “customer surveys demonstrate
  13 that those intangible benefits will be harmed if [defendant’s infringing product] stays
  14 on the market because consumers will be confused about the source of the
  15 [product].”).
  16        Marketing science confirms that, when a conflict arises between a premium
  17 brand like STONE® and inferior knock-off like Defendant’s “STONE” beer, the
  18 mere presence of the knock-off in the market destroys some of the goodwill
  19 belonging to the senior user. (Stewart Decl. ¶¶ 84-88.) When consumers are
  20 actually deceived in large numbers, as they are here, the harm to STONE® is
  21 compounded. Because such harm to a brand’s goodwill is by its nature intangible
  22 and incalculable (see Adidas, supra), Defendant’s erosion of the premium STONE®
  23 brand will cause irreparable harm.
  24        Defendant is Causing Long-Term Reverse Confusion
  25        Stone also faces irreparable harm because Defendant is usurping Stone’s
  26 chance to make a first impression on consumers with its acclaimed STONE® beer,
  27 rather than Defendant’s inferior substitute. This species of harm is sometimes
  28 referred to as “reverse confusion.” See FAZE Apparel, slip op. at 5 (“Reverse
                                         31          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.359 Page 39 of 48



   1 confusion occurs where the ‘trademark infringer so saturates the market with
   2 promotion of his trademark that consumers come to believe that the infringer, rather
   3 than the plaintiff, is the source of the trademarked product’”) (preliminary injunction
   4 granted). Defendant’s titanic marketing and distribution machine is saturating the
   5 market with infringing “STONE”-branded Keystone beer, materially contributing to
   6 Defendant’s $11 billion in annual sales. (RJN Ex. 11 at p. 43.) For context,
   7 Defendant spent $1.3 billion on advertising in 2017, dwarfing Stone’s total annual
   8 sales many times over. (RJN Ex. 11 at p. 156.) Though STONE® is a strong and
   9 growing brand, it has not yet converted every beer drinker in America. As
  10 Defendant’s nationwide sales and advertising blitz continues, thousands of beer
  11 drinkers who have not yet encountered Stone’s impeccable brews will learn to
  12 associate the “STONE” mark with Keystone, rather than the true STONE®.
  13 (STONE Decl. at ¶¶ 82-88.) As such “reverse confusion” occurs, Stone is
  14 permanently deprived of its chance to properly introduce these consumers to the
  15 STONE® brand.
  16        Nor is Defendant ashamed of its misappropriation; rather, its infringement is
  17 ongoing and getting worse. Defendant intends to increase its infringing conduct as
  18 evident by its Summer 2018 and Winter 2018 and marketing programs, i.e., as part of
  19 a cynical farce to “own the Stone”. (STONE Decl. at ¶¶ 79-80.) The upcoming
  20 iteration of Defendant’s “Can Hunt” series, using the “STONE” mark, will only
  21 serve to further flood the market and create false and misleading associations among
  22 consumers. (Id.)
  23        Defendant’s escalating infringement, coupled with the confusion evidence
  24 provided by Stone, establish that Stone faces loss of control over its STONE® Marks
  25 and the dissipation of the consumer goodwill it has spent over 20 years developing.
  26 See CytoSport, 617 F. Supp. 2d at 1081. Accordingly, the evidence is clear that
  27 absent an injunction, Stone’s brand will be irreparably harmed.
  28
                                         32          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.360 Page 40 of 48



       III.    BALANCE OF THE EQUITIES TIPS DECIDEDLY IN FAVOR OF
   1           PROTECTING STONE’S ONE-OF-A-KIND BRAND
   2           When considering the balance of equities, a defendant “cannot complain of the
   3 harm that will befall [him] when properly forced to desist from [his] infringing
   4 activities.” Triad Systems Corp. v. Southeastern Exp. Co., 64 F.3d 1330, 1338 (9th
   5 Cir. 1995); see also, Ocean Garden, Inc. v. Marktrade Co., 953 F.2d 500, 508 (9th
   6 Cir. 1991) (“Given the above six [Sleekcraft] factors [favoring the plaintiff], the
   7 balance of hardships tips sharply in [plaintiff’s] favor and it would have been an
   8 abuse of discretion for the district court not to grant the preliminary injunction.”); Dr.
   9 Seuss Enter., L.P. v. Penguin Books, U.S.A., 109 F.3d 1394, 1406 (9th Cir. 1997)
  10 (plaintiff’s substantial goodwill outweighed defendant’s expense). Further, and
  11 importantly, “when the plaintiff submits substantial evidence that the defendant
  12 intentionally infringed upon the plaintiff’s trademarks, the potential damage to the
  13 defendant’s business resulting from the preliminary injunction does not affect the
  14 court’s equity analysis.” 2Die4Kourt, 2016 WL 4487895, at *10.
  15           Defendant’s deliberate campaign to undermine Plaintiff’s STONE® Marks is
  16 inflicting serious harm upon the business and brand that Stone has built over more
  17 than a decade. By contrast, any hardship that Defendant would suffer as a result of a
  18 preliminary injunction is a self-inflicted injury entitled to little or no weight.
  19 Defendant has embarked on a deliberate campaign to co-opt Plaintiff’s STONE®
  20 name. Having been on notice of the incontestable STONE marks since 2007, Stone
  21 knowingly risked an injunction when it abandoned the longstanding name and brand
  22 of its “Keystone” beer in an effort to “Own the STONE” – i.e., to “own” the
  23 incontestable STONE® trademark that Stone has held for twenty years. As such,
  24 Defendant’s expense is not substantial, considering the willfulness of its
  25 infringement and in comparison to the extent of the harm that Stone faces.
  26 IV.       INJUNCTIVE RELIEF IS IN THE PUBLIC’S INTEREST
  27           Lastly, Courts look to determine if an injunction is in the public interest.
  28 “When a trademark is said to have been infringed, what is actually infringed is the
                                             33          Case No. 18-cv-0331-BEN-JMA
              PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                             MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.361 Page 41 of 48



   1 right of the public to be free of confusion and the synonymous right of the trademark
   2 owner to control his products' reputation.” FAZE Apparel, slip op. at 10.
   3 Consequently, “‘[t]he likelihood of confusion to consumers is [a] critical factor in
   4 our consideration’ of harm to the public, as ‘[t]he public has an interest in avoiding
   5 confusion between two companies’ products.” Aurora World, Inc. v. Ty Inc., 719 F.
   6 Supp. 2d 1115, 1127 (C.D. Cal. 2009).
   7        Here, enjoining Defendant’s willful and intentional infringement inherently
   8 serves the public interest. As evidenced above, consumers have and will continue to
   9 be confused by Defendant’s rebrand campaign. Further, by nature of Defendant’s
  10 own statements, Defendant intends to “leverage” off the sales from the infringing
  11 rebrand so as to further distribute its infringing products and compound the existing
  12 confusion among consumers. In light of the public’s right not to be deceived or
  13 confused, and Defendant’s intent to continue confusing consumers, the public
  14 interest strongly supports the issuance of an injunction.
  15 V.     NO BOND IS REQUIRED IN THIS CASE
  16        The Court has discretion under Rule 65(c) to consider the requirement of bond
  17 as part of a grant of preliminary injunction. In the trademark context, Courts usually
  18 demur against setting any security requirement given that “[t]he likelihood of success
  19 on the merits, as found by the district court, tips in favor of a minimal bond or no
  20 bond at all.” 2Die4Kourt v. Hillair Capital Mgmt., LLC, 692 F. App'x 366, 369 (9th
  21 Cir. 2017) (court granted preliminary injunction and did not impose a bond due to
  22 strong likelihood of success on the merits); see also, Van de Kamp v. Tahoe Reg’l
  23 Planning Agency, 766 F.2d 1319, 1326 (9th Cir. 1985).
  24        Here, bond not only is unwarranted, it would be unduly punitive. Defendant
  25 MillerCoors deliberately chose to rebrand itself on the STONE® mark in willful
  26 derogation of Stone’s incontestable trademark and with clear prior knowledge that
  27 the USPTO would consider such action to be a direct infringement of Stone’s rights.
  28 See, e.g., In re. Trademark Application No. 77284994 – STONES.
                                         34          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.362 Page 42 of 48



   1        As a multi-billion dollar behemoth, MillerCoors should not be incentivized to
   2 intentionally tread upon long-respected property rights, only to request “security”
   3 from the much smaller rights holder in exchange for preventing further irreparable
   4 harm. Pacific Rollforming, LLC v. Trakloc Intern., LLC, 2007 WL 4181258 at *1-2
   5 (S.D. Cal. 2007) (central to bond amount consideration is, “the applicant’s resources”
   6 where the “court should not impose a bond in an amount so high that it ‘would risk
   7 denying [a claimant]… access to judicial review.’”).
   8        Further, Stone’s requested preliminary injunction is reasonable and narrowly
   9 tailored to avoid undue expense and burden upon Defendant. Stone’s [Proposed]
  10 Order would allow Defendant a one-month sell-off period so that it can reasonably
  11 sell-through and dispose of existing inventory in stock or on shelf. Any remaining
  12 unused cans or packaging can be stored and/or recycled pending final adjudication of
  13 this matter.
  14                                    CONCLUSION
  15        For the foregoing reasons, Plaintiff Stone makes one simple request—that
  16 Defendant put the “Key” back in “Keystone.” Accordingly, Stone requests that this
  17 Court issue an injunction against Defendant’s use and isolation of “STONE” in its
  18 brand packaging, as detailed in the [Proposed] Order. This simple measure will halt
  19 Defendant’s impermissible, and irrefutably intentional attempt to usurp Plaintiff’s
  20 incontestable STONE® Mark and curtail the consumer confusion and irreparable
  21 harm currently occurring to Plaintiff’s STONE® Mark.
  22
       Dated: May 31, 2018                         Respectfully Submitted,
  23
  24                                               BRAUNHAGEY & BORDEN LLP

  25                                               By: /s/ J. Noah Hagey
  26                                                     J. Noah Hagey

  27                                               Attorneys for Plaintiff Stone Brewing
  28                                               Co., LLC
                                         35          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.363 Page 43 of 48




                DEMONSTRATIVE A 
                                        
                                        
                                        
                                        
                                        
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.364 Page 44 of 48




     i.    Comparison of Keystone Cans




  (Wagner Decl., Ex. 14)

     ii.   Evolution of Keystone Can Design

                                   1989 Can




                2000 Can           2003 Can        March 2017 Can




  (Wagner Decl., Ex. 14)
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.365 Page 45 of 48




     iii.   August 2017 Facebook Post




  (Wagner Decl., Ex. 19)

     iv.    2017 Contest Ad




  (Wagner Decl., Ex. 19)
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.366 Page 46 of 48




     v.     Comparison of Keystone “Can Hunt” Cans


                  2016 Challenge                2017 Challenge




  (Wagner Decl., Exs. 20, 21)

     vi.    Keystone’s Delivery Truck and Billboard Emphasizing Stone




  (Wagner Decl., Exs. 39-40)

     vii.   Strategic Shelving Instructions Showing “Stone” Only




  (Wagner Decl., Exs. 36, 38)
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.367 Page 47 of 48




     viii. March 2018 Planogram




  (Wagner Decl., Ex. 33)

     ix.   “Owning the Stone” Campaign




  (Wagner Decl., Ex. 41)

     x.    Summer 2018 Campaign




  (Wagner Decl., Ex. 42)
Case 3:18-cv-00331-BEN-JMA Document 30-1 Filed 05/31/18 PageID.368 Page 48 of 48



   1                             CERTIFICATE OF SERVICE
   2        I hereby certify that on this 31st day of May, 2018, I electronically transmitted
   3 the foregoing PLAINTIFF STONE BREWING CO., LLC’S MEMORANDUM OF
   4 POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY
   5 INJUNCTION to the Clerk’s office using the CM/ECF system, which will send a
   6 notice of filing to all counsel of record.
   7
                                                    s/J. Noah Hagey
   8                                                J. Noah Hagey
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                                         36          Case No. 18-cv-0331-BEN-JMA
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION
